         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 1 of 32

                                                                            1612 K Street NW Suite 1100
                                                                                Washington, DC, 20006
                                                                                         (202) 457-0034
                                                                                      whistleblower.org



February 16, 2024

Sent via electronic mail

Honorable Gary C. Peters, Chair                         Honorable Kay Granger, Chair
Honorable Rand Paul, Ranking Member                     Honorable Rosa DeLauro, Ranking Member
U.S. Senate Committee on Homeland Security              U.S. House Committee on Appropriations
and Governmental Affairs                                Washington, D.C., 20515
Washington, D.C. 20510
                                                        Office of Special Counsel
Honorable Richard J. Durbin, Chair                      1730 M Street, N.W., Suite 218,
Honorable Lindsey O. Graham, Ranking Member             Washington, D.C., 20036-4505
U.S. Senate Committee on the Judiciary
Washington, D.C. 20510                                  The Honorable Alejandro Mayorkas
                                                        Secretary of Homeland Security
Honorable Patty Murray, Chair                           Washington, DC 20528
Honorable Susan Collins, Vice chair
U.S. Senate Committee on Appropriations                 Office of Inspector General
Washington, D.C., 20510                                 Department of Homeland Security
                                                        245 Murray Lane SW
Honorable Mark E. Green, MD, Chair                      Washington, DC 20528-0305
Honorable Bennie G. Thompson, Ranking
Member
U.S. House of Representatives Committee on
Homeland Security
Washington, DC 20515

Re:    Protected Whistleblowers’ Disclosures Regarding Failure of CBP Leadership and
       CBP Office of Acquisition to Oversee its Medical Services Contract with Loyal Source
       Government Services and Ongoing Wrongdoing by Acting CBP Chief Medical
       Officer

To Whom It May Concern:

Government Accountability Project represents multiple whistleblowers who are current and
former employees of both U.S. Customs and Border Protection (CBP) and Loyal Source
Government Services (“Loyal Source”), who possess critical information about CBP Leadership
and the Office of Acquisition’s failure to oversee its medical services contract with Loyal Source,
wasting millions of taxpayer dollars and threatening countless lives. Of critical concern, these
individuals also have reports of wrongdoing by the acting CBP Chief Medical Officer who
currently leads the office responsible for CBP’s medical mission.



Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 1 of 32
          Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 2 of 32




On November 30, 2023, we wrote to you regarding the protected whistleblower disclosures of Mr.
Troy Hendrickson, the former Contract Officer Representative assigned to the CBP Medical
Services Contract, who was retaliated against after he, along with the CBP Chief Medical Officer
Dr. David Tarantino1 and colleagues at the CBP Office of the Chief Medical Office (OCMO),
raised numerous and ongoing concerns regarding failures of the CBP Office of Acquisition to hold
Loyal Source accountable for the company’s underperformance in the provision of medical
services at the border, including: unjustified billing in the millions of dollars; unremedied,
dangerous levels of understaffing; and serious medical quality management concerns.

Tragically, following Mr. Hendrickson’s retaliatory removal in April of 2022 from his Contract
Officer Representative position, 8-year-old Anadith Reyes Alvarez died in May of 2023 while in
CBP custody due to medical neglect by the Loyal Source provider on site. Had the early warnings
of Mr. Hendrickson and the OCMO team been heeded, Anadith might still be alive.

Since Mr. Hendrickson’s disclosures were reported publicly,2 multiple additional whistleblowers,
both current and former employees of CBP and Loyal Source, have come forward to share critical
new information in this disclosure. These nonpartisan whistleblowers are dedicated to CBP’s
medical mission, and disclose issues of fraud, waste, and abuse relevant to the oversight role of all
of Congress.

The new disclosures of these whistleblowers are organized below in three parts. Part One details
CBP leadership’s prior knowledge of the problems that lead to Anadith’s death and their efforts to
hide this truth. Part Two includes critical concerns of current wrongdoing by the Acting CBP Chief
Medical Officer temporarily assigned to lead OCMO following the retaliatory reassignment of the
CBP Chief Medical Officer, Dr. David Tarantino. In Part Three, whistleblowers validate concerns
first disclosed publicly by Mr. Hendrickson with first-hand accounts of Loyal Source’s dangerous
and chaotic management.



1
  According to publicly available records, Dr. Tarantino has previously served as Director for Civil-Military Medical
Affairs in the Office of the Secretary of Defense for Health Affairs in the U.S. Department of Defense and as Medical
Advisor to the Coalition Provisional Authority/Ministry of Health and then Senior Consultant for the U.S. Mission
Baghdad to the Interim Iraqi Government Ministry of Health. He had a significant leadership role in reestablishing
the Iraqi Ministry of Health and health care for all Iraqis and served as the principal US Government advisor to the
new Iraqi Minister of Health. “Dr. David A. Tarantino, Jr., M.D., MPH - Chief Medical Officer - U.S. Customs and
Border       Protection,”      Progress,      Potential,     and      Possibilities     (December      16,     2022),
https://www.youtube.com/watch?v=EmNltKTVb_U. He also served as Director for Clinical Programs at Marine
Corps Headquarters. “Cmdr. David Tarantino,” Defense Visual Information Distribution Service (August 5, 2011),
https://www.dvidshub.net/video/122328/cmdr-david-tarantino. Dr. Tarantino was awarded the Navy and Marine
Corps Medal for risking his life to save others at the Pentagon on the morning of September 11, 2001 when he served
in the Department of Defense, Office of the Deputy Assistant Secretary of Defense for the Peacekeeping and
Humanitarian Affairs. Dr. David Tarantino, “9/11 Pentagon Attack Oral History,” interview by Gary Weir and CAPT
Michael        McDaniel,        USNR,        Naval        Historical      Center      (September       25,     2001),
https://www.history.navy.mil/research/archives/Collections/ncdu-det-206/2001/9-11-pentagon-attack/oh-
tv/tarantino.html.
2
  Nick Miroff, “Whistleblower alleges failures in medical care at U.S. border facilities,” Washington Post (November
30, 2023), https://www.washingtonpost.com/immigration/2023/11/30/border-whistleblower-loyal-source-medical-
migrants/.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 2 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 3 of 32




These disclosures in their entirety alarmingly evidence ongoing failures by CBP Leadership and
the CBP Office of Acquisition to hold Loyal Source accountable despite this contractor’s record
of performance deficiencies. Meanwhile, Loyal Source has been granted numerous contract
extensions worth hundreds of millions of dollars, the latest through much of 2024, and CBP
leadership has failed to ensure that the current Acting CMO is acting accountably.

All of these whistleblowers have attempted to use regular internal channels to share their concerns;
all have been met with resistance. Some have experienced threatened or actual retaliation, and as
such, they have chosen to remain anonymous due to their fear of reprisal. Yet, they find it critical
that Congress and oversight entities take swift action to prevent further waste of taxpayer funds
and harm to noncitizens in CBP custody, and they feel an imperative duty to inform Congress and
oversight bodies of current wrongdoing. These anonymous whistleblowers are willing to speak
confidentially about their protected disclosures with congressional staff or other government
investigators.

We urge Congress, the Office of the Special Counsel, and the DHS Office of Inspector General to
investigate these urgent disclosures with the immediacy they warrant. We also ask that Congress
communicate to CBP leadership that whistleblowers and sources in this investigation must be
protected from reprisal.




Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 3 of 32
             Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 4 of 32




                                                    TABLE OF CONTENTS
Executive Summary ........................................................................................................................ 5

Recommendations ........................................................................................................................... 6

Protections for Federal Employee and Contractor Whistleblowers ................................................ 7

Part I: CBP Leadership Enabled Loyal Source’s Failures .............................................................. 7

   Top Brass Knew About Contract Failures .................................................................................. 7

   Truth About Anadith Reyes Alvarez’s Death Was Buried ......................................................... 8

Part II: New Management, New Problems ................................................................................... 10

   After CBP Reassigned Dr. Tarantino, Dr. Alexander Eastman Was Named Acting CBP CMO
   ................................................................................................................................................... 10

   Dr. Eastman’s Abuse of Authority and Gross Mismanagement ............................................... 12

   Dr. Eastman’s Gross Waste of Taxpayer Dollars on Travel Expenses ..................................... 15

   Inappropriate Use of Deloitte Contractors ................................................................................ 17

   Gross Mismanagement in Addressing Staffing Needs .............................................................. 20

   Gross Waste of Taxpayer Dollars in Crusade Against the OCMO In-House Electronic Medical
   Records System ......................................................................................................................... 23

Part III: Contractor Chaos ............................................................................................................. 26

   Former Loyal Source Employees Validate Underperformance in Medical Services ............... 26

   Ongoing Medical Failures Despite New OCMO Leadership ................................................... 30

Conclusion .................................................................................................................................... 31




Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 4 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 5 of 32




                                 EXECUTIVE SUMMARY
As detailed in the November 30, 2023 whistleblower disclosure of Mr. Troy Hendrickson, he and
the CBP Chief Medical Officer Dr. David Tarantino, along with colleagues in the CBP Office of
the Chief Medical Officer (OCMO) raised concerns in the years prior to the preventable May 2023
death of 8-year-old Anadith Reyes-Alvarez of deficient and dangerous performance of CBP’s
contracted medical provider, Loyal Source Government Services. Rather than heed these
warnings, CBP officials in the Office of Acquisition removed Mr. Hendrickson from his position.
Then, following Anadith’s death, the Department of Homeland Security scapegoated OCMO and
its Chief Medical Officer, Dr. David Tarantino, despite evidence that Loyal Source was to blame
for the death. In June 2023, Dr. Alexander Eastman was named Acting CBP CMO while Dr.
Tarantino was publicly ousted on detail to a lower position in DHS. Loyal Source and the CBP
Office of Acquisition have yet to be held to account; in fact, Loyal Source has remained the vendor
on the Medical Services Contract through regular extensions worth millions of dollars, the latest
through November 2024.

Soon after Dr. Eastman began his role as Acting Chief Medical Officer, he began to exhibit actions
evidencing gross mismanagement, gross waste, abuse of authority, violations of law, rule, and
regulation, and exacerbating substantial and specific threat to public health and safety by degrading
OCMO’s ability to meet its mission. Dr. Eastman’s alarming actions have ranged from speaking
derisively about OCMO and its staff, to self-approving new policies to procure fentanyl lollipops,
to gross waste of funds on travel and futile efforts to adopt a new electronic medical records
system, and to the inappropriate use of Deloitte contractors. While Dr. Eastman represents that he
is acting according to direction to make significant changes to prevent another death in custody,
his leadership has instead caused a chaotic, hostile, and chilled environment which detracts from
OCMO’s medical mission.

The concerns of these whistleblowers consist of much more than mere policy disagreements;
OCMO staff have demonstrated consistent openness and support of new ideas to improve medical
care in CBP custody. OCMO staff are concerned that Dr. Eastman’s actions frequently violate
Federal Acquisition Regulations, constitute gross waste of funds, and endanger public health. It is
precisely because of their dedication to OCMO’s mission that they, along with former Loyal
Source staff, now come forward to sound the alarm once again. Their reports include:

•   Details of CBP leadership’s knowledge of Loyal Source’s contract failures and efforts to bury
    the truth surrounding the death of Anadith Reyes-Alvarez;

•   Inappropriate and unlawful actions taken by Acting CBP CMO Dr. Alexander Eastman
    including attempts to change CBP narcotics policy to procure fentanyl lollipops, a medical
    cover-up, inappropriate use of contractors, and gross waste of funds; and

•   Validation of Mr. Hendrickson’s public disclosures regarding performance failures of Loyal
    Source including staffing shortages, delays in background checks, contractors working without
    proper clearance, failure to use the Electronic Medical Records system, sexual harassment, and
    improper medical care.


Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 5 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 6 of 32




                                   RECOMMENDATIONS
Accordingly, we share these protected whistleblower disclosures below with Congress, the
Department of Homeland Security, and relevant oversight entities, and request the following:

•   Conduct thorough and prompt oversight into the gross mismanagement, abuse of authority,
    gross waste, and violations of laws, rules and regulations by Acting CBP Chief Medical Officer
    Dr. Alexander Eastman;

•   Instruct CBP to halt hiring and restructuring of the Office of Chief Medical Officer by Dr.
    Alexander Eastman until such time as investigations can be completed;

•   Instruct CBP to halt approval of controlled substances purchases orchestrated by Dr. Eastman
    and cease any changes to CBP and OCMO controlled substances policies and practices until
    such time as investigations can be completed;

•   Conduct thorough and prompt investigation into the CBP Information Technology contracting
    vehicle under which current Deloitte contractors were brought in to work with Dr. Eastman;

•   Conduct thorough and prompt oversight into the gross mismanagement by CBP leadership,
    CBP Operations Support leadership, and the CBP Office of Acquisition, of both the CBP
    medical services contract and the funds designated by Congress to support CBP medical
    services;

•   Conduct thorough and prompt oversight into the procurement process to select a vendor for
    the CBP Medical Services’ Contract recompete, which was awarded to Vighter in 2022, though
    the contract transfer has been delayed since that date, resulting in Loyal Source continuing to
    earn hundreds of millions of taxpayer dollars despite a record of dangerous substandard
    performance;

•   Ensure that any current or former CBP or Loyal Source employees who have raised or may in
    the future raise concerns to Congress, internally to managers, to investigators and/or
    enforcement agencies, or to any other protected recipients, are neither unlawfully restricted or
    chilled from, nor subject to retaliation for, engaging in protected whistleblowing activity.




Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 6 of 32
          Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 7 of 32




       PROTECTIONS FOR FEDERAL EMPLOYEE AND CONTRACTOR
                        WHISTLEBLOWERS
Recognizing the important role of employees in ensuring accountability for taxpayer dollars spent
within the federal government and its contracts, federal law provides protection for both federal
employees and contractors who disclose concerns of wrongdoing that impact the public interest.
These laws prohibit retaliation or adverse personnel action against employees or contractors who
raise concerns about actions that constitute gross mismanagement, gross waste of federal funds,
abuse of authority, violation of law, rule, or regulation, or a substantial and specific danger to
public health or safety.3 Importantly, whistleblower protections supersede nondisclosure
agreements, and the Supreme Court has validated the right of whistleblower employees to share
their disclosures with the press.4 The disclosures of our clients detailed below outline concerns of
past and ongoing actions that fall within these protected categories.

    PART I: CBP LEADERSHIP ENABLED LOYAL SOURCE’S FAILURES
Mr. Hendrickson’s November 30, 2023 protected whistleblower disclosure first detailed that the
CBP Office of Acquisition, which holds oversight authority over the CBP medical services
contract, was on notice for years prior to Anadith Reyes-Alvarez’s preventable death of Loyal
Source’s under performance due to internal reporting by Mr. Hendrickson and his colleagues at
OCMO. Now, whistleblowers reveal that not only did OCMO staff notify CBP leadership of these
dangerous problems and of the Office of Acquisition’s failure to take remedial measures against
Loyal Source, but also that CBP and DHS leaders sought to scapegoat OCMO for the death rather
than take action against Loyal Source.

Top Brass Knew About Contract Failures
Throughout 2022, OCMO leadership raised concerns detailed in Mr. Hendrickson’s November 30,
2023 disclosure to Congress internally within CBP.5 These concerns, brought to then Executive
Assistant Commissioner of Operations Support Manuel Padilla, and Deputy Executive Assistant
Commissioner of Operations Support Mark Koumans, included the CBP Office of Acquisition’s
failure to hold Loyal Source to account for the company’s underperformance on the Medical
Services Contract, the Contract Officer’s retaliatory removal of Mr. Hendrickson from the Medical
Services Contract Contracting Officer Representative Position, and the Office of Acquisition’s
hostile treatment of OCMO when OCMO sought accountability for Loyal Source’s failures. These
concerns were regularly communicated to Padilla and Koumans through weekly reporting during


3
  Protections for federal employees can be found at 5 U.S.C. § 2302, and similar protections for federal contractors
are enumerated at 41 U.S.C. § 4712.
4
  Dep't of Homeland Sec. v. MacLean, 574 U.S. 383, 135 S. Ct. 913, 190 L. Ed. 2d 771 (2015)
5
   See Letter from Troy Hendrickson to Congress (November 30, 2023), https://whistleblower.org/wp-
content/uploads/2023/11/11-30-2023-Hendrickson-Congressional-Disclosure.pdf.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 7 of 32
          Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 8 of 32




the planning for the cessation of the use of Title 42 public health authority during the beginning of
2022 and throughout the effort to award the recompete contract that same year (Exhibit A).

In response, Padilla and Koumans directed OCMO leadership to stand down. In fact, Padilla and
Koumans in turn accused OCMO leadership of fostering a hostile relationship with the Office of
Acquisition and dismissed concerns about retaliation against Mr. Hendrickson. Koumans told
OCMO leadership that it was more important to get along with the Office of Acquisition, and that
Mr. Hendrickson “wasn’t really a part of the team anyway.” Hindsight shows that the concerns
Mr. Hendrickson and OCMO raised about the Office of Acquisition should have been taken
seriously.

Truth About Anadith Reyes Alvarez’s Death Was Buried
CBP Office of Professional Responsibility and OCMO Review Found Failures by Loyal Source
to Follow Proper Protocols in the Provision of Care for Anadith

On May 17, 2023, 8-year-old Anadith Reyes Alvarez died from complications of the flu
exacerbated by her sickle-cell anemia while in CBP custody despite her mother’s repeated pleas
to Loyal Source staff for medical care,6 exposing the structural deficiencies both OCMO and some
Loyal Source employees had consistently raised to no avail. OCMO’s initial review7 identified
critical failures by Loyal Source, particularly their failure to follow OCMO’s repeated directive to
err on the side of caution in complex medical cases. As corroborated by Loyal Source employees,
despite OCMO’s clear and ongoing directives and the addition of Pediatric Advisors to the contract
to consult for complex pediatric cases,8 these guidelines were not followed by the Loyal Source
medical providers.

OCMO’s review also illustrated that Loyal Source providers failed to properly use the Electronic
Medical Records System despite ongoing direction to do so. This direction from OCMO came
from written policy guidance, incorporation in the Electronic Medical Records System, and regular
and frequent medical quality management meetings with Loyal Source. As validated by Loyal
Source employee whistleblowers, despite this clear direction, some providers continued to fail to
enter data into or consult the Electronic Medical Records System, at times out of negligence, and
other times due to severe understaffing.



6
  U.S. Customs and Border Protection, “June 1, 2023 Update: Death in Custody of 8-Year-Old in Harlingen, Texas,”
(June 1, 2023), https://www.cbp.gov/newsroom/national-media-release/june-1-2023-update-death-custody-8-year-
old-harlingen-texas.
7
  Following the death, OCMO initiated a sentinel event review which involved reviewing electronic medical records,
speaking with providers on site, engaging with Medical Quality Management personnel, and reviewing policy
guidance to determine what failures occurred, what policy improvements might be warranted, and what contract
enforcement mechanisms to initiate. Because DHS, the Office of Professional Responsibility, and law enforcement
also initiated reviews in the wake of Anadith’s death, OCMO contributed its findings and expertise to the agency
investigations (Exhibit B).
8
  OCMO directed Loyal Source to add Pediatric Advisors to the Contract by at least 2020.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 8 of 32
          Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 9 of 32




OCMO’s initial findings were confirmed by an investigation conducted by the CBP Office of
Professional Responsibility (OPR). The initial findings of the OPR investigation, shared publicly
on June 1, 2023, found that “despite the girl’s condition, her mother’s concerns, and the series of
treatments required to manage her condition, contracted medical personnel did not transfer her to
a hospital for higher-level care.” OPR continued: “Contracted medical personnel did not consult
with on-call physicians (including an on-call pediatrician) about the girl’s condition, symptoms,
or treatment. The contracted medical personnel failed to document numerous medical encounters,
emergency antipyretic interventions, and administrations of medicine.”9

DHS Blamed OCMO

Although it was evident that straightforward failures by Loyal Source staff led to Anadith’s
untimely death, a subsequent DHS review led by Herb Wolfe, then-Deputy Director of the DHS
Office of Health Security, Deputy Director and Deputy Chief Medical Officer, Office of Health
Security, and then-DHS Medical Advisor Dr. Eastman, resulted in a June 8, 2023 report to the
Commissioner of CBP titled “Initial Observations and Recommended Medical Improvement
Actions for the Care of Individuals in CBP Custody,”10 implying that inadequate OCMO oversight
of Loyal Source was a significant factor in the incident, despite the fact that the authority and
ability to hold Loyal Source accountable for performance failures rested with the CBP Office of
Acquisition, not OCMO. This report neglected to account for OCMO’s ongoing attempts to hold
Loyal Source accountable for underperformance and the Office of Acquisition’s resistance of these
efforts11, concerns raised to the leaders of Operations Support, Padilla and Koumans, and leaders
of the Office of Acquisition prior to Anadith’s death.

In the wake of the DHS report, Executive Assistant Commissioner of Operations Support Padilla
reassigned Dr. Tarantino on detail to ICE, reporting to his Chief Medical Officer counterpart at
the ICE Health Services Corps beginning in June 2023. Shortly thereafter, Dr. Alexander Eastman,
who contributed to the DHS review criticizing OCMO, was appointed Acting CBP CMO. Dr.




9
  U.S. Customs and Border Protection, “June 1, 2023 Update: Death in Custody of 8-Year-Old in Harlingen, Texas,”
(June 1, 2023), https://www.cbp.gov/newsroom/national-media-release/june-1-2023-update-death-custody-8-year-
old-harlingen-texas.
10
   A Deloitte Contractor, referred to in this disclosure as Deloitte Contractor 1, has claimed authorship of this report
when she was working for Deputy DHS CMO Wolfe. See infra “Inappropriate Use of Contractors and
Mismanagement of Staff.”
11
    See Letter from Troy Hendrickson to Congress (November 30, 2023), https://whistleblower.org/wp-
content/uploads/2023/11/11-30-2023-Hendrickson-Congressional-Disclosure.pdf. Mr. Hendrickson’s disclosure
revealed that leadership of the CBP Office of Acquisition, the office with oversight authority of the CBP Medical
Services Contract, had prior notice of OCMO’s serious concerns about dangerous Loyal Source performance
deficiencies including understaffing, medical personnel with improper and expired credentials, and medical personnel
working with inadequate supervision, among other problems, and that at multiple levels of leadership the Office of
Acquisition declined to take remedial action against Loyal Source.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 9 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 10 of 32




Tarantino’s reassignment was widely reported in the press as one of DHS’s remedial responses to
Anadith’s death.12

Rather than responding to this tragedy by acting on longstanding awareness of Loyal Source’s
dangerous ongoing performance deficiencies identified years prior to Anadith’s death by OCMO,
CBP leadership instead sidelined the leader of OCMO who had repeatedly identified those
performance deficiencies and who urged CBP to take remedial action to prevent such tragedies.
Now, nearing a year after the preventable death, Loyal Source continues to be the vendor on this
contract for critical medical services, earning hundreds of millions of taxpayer dollars.

                  PART II: NEW MANAGEMENT, NEW PROBLEMS
After CBP Reassigned Dr. Tarantino, Dr. Alexander Eastman Was Named
Acting CBP CMO
Dr. Eastman Wears Many Hats, Diminishing His Leadership of OCMO

Dr. Alexander Eastman held a role as a DHS medical advisor for years, including prior to Dr.
Tarantino’s hiring with CBP. Dr. Eastman resides in the Dallas, Texas area, with an irregular
schedule of commutes to Washington, D.C. to engage in person with OCMO and CBP
headquarters. Additionally, Dr. Eastman proudly represents himself to have a continued role with
the Dallas Police Department and as a Trauma Surgeon at Parkland Hospital in Dallas.13 His
concurrent roles effectively result in him being a part-time Acting Chief Medical Officer; Dr.
Eastman frequently travels on business that is unrelated to the OCMO mission but with funds spent
from the OCMO budget.14

Dr. Eastman Was Aware of Loyal Source’s Failures and Did Little to Support OCMO

As a DHS Medical Advisor, Dr. Eastman had a role in CBP medical oversight prior to the hiring
of Dr. Tarantino as the CBP medical advisor. During the years between the founding of OCMO
and Anadith’s death, Dr. Eastman was aware of OCMO leadership’s concerns regarding Loyal
Source and the need for stronger medical capacity within CBP, particularly through his
involvement in OCMO’s planning for the cessation of Title 42 and the July 2022 process to select
12
   Nick Miroff, “CBP reassigns chief medical officer after child’s death in border custody,” Washington Post, (June
15, 2023), https://www.washingtonpost.com/nation/2023/06/15/border-patrol-medical-care-child-death/.
13
   Eastman, Alexander @PMHTrauma_ALE https://twitter.com/PMHTrauma_ALE; Jean Song, “For two Dallas
surgeons, police ambush is personal,” CBS News (July 12, 2016), https://www.cbsnews.com/news/dallas-police-
shooting-parkland-surgeon-doctor-brian-williams-alexander-eastman/ (Interview with Dr. Eastman and a fellow
trauma surgeon in which Dr. Eastman explains how his dual roles as trauma surgeon and police lieutenant inform his
response to a Dallas mass shooting); But see, Tim Rogers, “Did SWAT Doc Exaggerate About Saving Marathoner’s
Life?” D Magazine (December 12, 2017), https://www.dmagazine.com/frontburner/2017/12/did-swat-doc-
exaggerate-about-saving-marathoners-life/ (noting that Dallas Fire-Rescue publicly disputed Dr. Eastman’s account
of having saved a life, noting instead that Dallas Fire-Rescue and a bystander were responsible for the lifesaving
actions).
14
   See infra “Dr. Eastman’s Gross Waste of Taxpayer Dollars on Travel Expenses.”

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 10 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 11 of 32




a vendor for the recompeted Medical Services Contract.15 However, Dr. Eastman did little to
support OCMO prior to Anadith’s death.

Dr. Eastman’s knowledge of Loyal Source’s failures was reinforced during the 2022 preparations
for the cessation of the use of Title 42 authority, during which OCMO made clear that Loyal Source
had significant staffing and performance issues that risked hindering CBP’s capacity to provide
adequate mandated medical care with an expected surge in noncitizens at the border. Additionally,
Dr. Eastman played a key role in the 2022 Medical Services Contract recompete process,16
including serving on the Technical Evaluation Team, where his understanding of Loyal Source’s
shortfalls was reinforced in significant detail through extensive past performance review and
discussion, and the ultimate award of the contract to a different vendor.17

As a DHS medical advisor, Dr. Eastman represented that he had direct lines of communication
with top leaders in CBP and DHS, including the Commissioner of CBP. Dr. Eastman also had
knowledge of the oversight failures of CBP Office of Acquisition, which repeatedly declined to
take corrective action against Loyal Source. Using his knowledge and purported connections to
leadership, Dr. Eastman could have communicated his understanding of the failures of the Office
of Acquisition and Loyal Source to OCMO and worked with OCMO to advocate to CBP and DHS
leadership for accountability.

Instead, despite this knowledge, Dr. Eastman played a lead role in DHS’ review of Anadith’s death
which resulted in the June 8, 2023 report that effectively assumed government responsibility for
Loyal Source’s failures through its blame of OCMO and scapegoating of Dr. Tarantino.

New Management Has Resulted in Toxic Work Environment and Gross Waste, Gross
Mismanagement, Abuse of Authority, and Violations of Law, Rule, or Regulation

Detailed further below, since he began his role as the Acting CBP CMO, Dr. Eastman has created
a hostile work environment for OCMO by, for example, berating OCMO systems and staff,
speaking to staff in a condescending tone, modifying staff positions in the OCMO organizational
chart without consultation from OCMO personnel, pressuring staff to change policy to his desire



15
   Dr. Eastman and DHS medical leadership were well aware of Loyal Source staffing challenges through preparations
for the cessation of Title 42 authority and expected migration surge. DHS leadership and Dr. Eastman recognized
Loyal Source’s inability to adequately meet emergent staffing requirements, which resulted in extensive planning to
identify additional potential medical provider teams from entities including, for example, the U.S. Public Health
Service and U.S. Coast Guard. These efforts even included the initiation of an additional contract to supplement Loyal
Source’s staff with an additional vendor, which as detailed in Mr. Hendrickson’s November 30, 2023 disclosure, ended
in failure as the vendor, which partnered with Loyal Source to add staffing capacity, could not provide additional
medical providers.
16
   The recompeted Medical Services Contract was scheduled to be awarded in June 2022, and the awarded vendor
would begin performance in September 2022.
17
   However, as noted, due to ongoing protest of this award by Loyal Source, Loyal Source remains the vendor on the
Medical Services Contract through regular extensions.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 11 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 12 of 32




– including attempts to procure fentanyl lollipops, and touting his deep connections to CBP and
DHS leadership.

Dr. Eastman has also used contractors to inappropriately fill roles of federal employees, has
mishandled medical concerns, and has wasted taxpayer dollars through frequent travel minimally
related to OCMO business and through redundant evaluations of OCMO systems.

Dr. Eastman’s Abuse of Authority and Gross Mismanagement
Dr. Eastman has created a hostile and chilled work environment within OCMO through his brazen
attempts to flout law and policy, his abusive treatment of staff, and his disparagement of OCMO.
CBP and Operations Support leadership have enabled this situation despite warnings and
indications of Dr. Eastman’s inappropriate behavior.

Attempts to Procure Fentanyl Lollipops for Attendance at the U.N. General Assembly in New
York City

In September 2023, Dr. Eastman visited New York in conjunction with the United Nations General
Assembly (UNGA),18 which is typically attended by heads of UN member states.19 While CBP
Air and Marine Operations and the United States Secret Service did have a joint security mission
at UNGA, it was not clear why the presence of the Acting CBP Chief Medical Officer was
required, nor did Dr. Eastman effectively communicate to OCMO staff why he was prioritizing
the trip over managing CBP medical operations at the border. Indeed, initially OCMO was
determined to not have a role in UNGA (Exhibit C).

Yet, in the week before departing for the U.N. General Assembly, Dr. Eastman spent copious hours
of his and OCMO staff time, directing the OCMO staff to urgently help him procure fentanyl
lollipops, a Schedule II narcotic, so that he could bring them on the CBP Air and Marine
Operations helicopter on which he would be a passenger in New York City (Exhibit C). Dr.
Eastman claimed that his possession of fentanyl lollipops was necessary in case a CBP operator
might be injured, or in case the CBP Air and Marine Operations team encountered a patient in
need. Over half a dozen CBP employees were involved in handling the urgent purchase request
and navigating the hurdles of purchasing and handling highly regulated narcotics. OCMO senior
leadership reported concern about these efforts to Operations Support leadership via email on
September 5, 2023 (Exhibit D).

Of note, Dr. Eastman has been investigated in the past by the CBP Office of Professional
Responsibility regarding improper ordering and procurement of narcotics and illegal storage of
those narcotics along with a friend of his who is a paramedic and pilot for CBP Air and Marine

18
  United Nations, General Assembly High-level Week 2023, https://www.un.org/en/high-level-week-2023.
19
  Mallika Sen, “Everything you need to know about this year’s meeting of leaders at the UN General Assembly,”
Associated Press (September 18, 2023), https://apnews.com/article/un-general-assembly-2023-what-to-know-
9f3f99a3c99594a2a36d83e11e206975.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 12 of 32
            Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 13 of 32




Operations. Importantly, this same friend was also the CBP helicopter pilot during Dr. Eastman’s
trip to New York City for UNGA and is the same friend who Dr. Eastman is currently attempting
to detail into OCMO for a critical leadership position.20

Attempts to Self-Authorize a Change in Narcotics Policy to Allow the Procurement of Fentanyl
Lollipops

Dr. Eastman’s attempts to order fentanyl lollipops were initially unsuccessful because there was
not enough funding available for the purchase. Then, OCMO staff questioned the fact that there
was not an OCMO policy regarding the procurement, storage, and disposal of Schedule II narcotics
(Exhibit E, Exhibit F). Dr. Eastman proceeded to write his own policy for this purpose, which
initially omitted language regarding the storage and disposal of the narcotics.

Though OCMO staff wrote in language to this effect based on existing Drug Enforcement
Administration Diversion policies, Dr. Eastman then removed this language, signed the policy
himself, (Exhibit G) and failed to send the policy to senior CBP leadership for review and approval,
despite warnings from OCMO senior staff that authorizing such policy without higher approval
could be illegal. With this self-signed policy, Dr. Eastman directed OCMO staff to order the
fentanyl lollipops. Ultimately, the narcotics were not ordered by OCMO because a vendor could
not be found in time.

Minimization of the Severity of Loyal Source’s Undertreatment and Failure to Report a Severe
Burn on a Child
In September 2023, a 15-year-old, female unaccompanied child was taken into CBP custody in the
Tucson Sector and evaluated by Loyal Source medical providers for a burn on her leg. The Loyal
Source provider diagnosed her with a 4-5 centimeter, “painless” second-degree burn and
prescribed her an antibiotic cream.

When the minor was transferred to the custody of the Office of Refugee Resettlement, the
component of the Department of Health and Human Services responsible for the care and custody
of unaccompanied children, her medical form submitted by Loyal Source stated that “No Medical
issues were identified or treated in CBP custody.” (Exhibit H). Loyal Source’s failure to report the
burn is inconsistent with the recording mandates of CBP’s Medial Process Guidance. (Exhibit I)
(“The Medical Summary Form will accompany the persons in custody upon travel, transfer, or
release from CBP custody and identify medical issues addressed or observed while in CBP
custody.”).

Upon the child’s arrival, ORR medical staff immediately identified the serious nature of her burn
and sent her to the Phoenix Children’s Hospital emergency room, from which she was ultimately
transferred to Valley-Wise Burn Center for evaluation and skin grafts (Exhibit J). ORR reported


20
     See infra “Gross Mismanagement in Addressing Staffing Needs.”

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 13 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 14 of 32




Loyal Source’s misdiagnosis, mismanagement, and inadequate documentation to the CBP Office
of Professional Responsibility/Joint Intake Center.

Once OCMO staff were notified of the ORR complaint by OPR in the course of OPR’s
investigation, Dr. Eastman downplayed the event and approved the diagnosis and treatment plan
issued by Loyal Source, noting in an October 30, 2023 email: “Worth a discussion but not sure I
agree with the conclusion. Looks like the LSGS team prescribed Silvadene dressings while in our
custody?? Or some antibiotic ointment? What makes you think that’s not the correct treatment?”
(Exhibit K). When an OCMO medical doctor and a nurse practitioner disagreed with Dr.
Eastman’s assessment, he responded via email later that evening: “You know where I trained and
worked right?? This would be like me trying to teach you about managing hypertension!            A.”
(Exhibit K). This minimization created a chilling effect in the internal review of the incident.

Dr. Eastman in fact trained at a burn center at some point in his career. However, in response to
concerns of misdiagnosis, mistreatment, and documentation error by Loyal Source, Dr. Eastman
refused to listen to medical colleagues on the OCMO staff, disregarded the assessment of HHS
medical professionals who referred the minor to the hospital, and neglected to consider the medical
judgement of the hospital physicians who referred the minor to a burn center. In doing so, he may
have hindered an OPR investigation into the matter, as his minimization of the incident
communicated to OPR that OCMO’s medical experts did not agree with ORR’s concerns. This
would be an alarming result as the problems evidenced by Loyal Source’s failures, including the
failure to provide proper care to a minor, the failure to consult with the pediatric advisor, the failure
to refer a minor in need of additional care, and the failure to conduct proper documentation mirror
the same Loyal Source failures that contributed to Anadith’s death.

Allegations of Sexual Harassment of Women
Dr. Eastman has frequently spoken lewdly about women in the presence of OCMO staff in both
work and public settings, creating a hostile environment for employees. His sexually suggestive
language in such a context effectively communicates to staff that he can say anything with
impunity through these shocking and inappropriate comments.

Frequent Berating of Staff and OCMO
Dr. Eastman, knowing that due to ongoing failure by CBP leadership to provide OCMO with
proper staffing and support, many OCMO personnel are assigned to OCMO on temporary detail,
has threatened staff in the past, warning that they could be sent back to their previous assignments
if they expressed problems with his management.

Not only has Dr. Eastman mocked physicians21 who have expressed opinions that differ from his
in their medical judgment, but he also frequently threatens and shames staff in public settings, such

21
  “Minimization of the Severity of Loyal Source’s Undertreatment and Failure to Report a Severe Burn On a Child.”
supra p. 11

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 14 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 15 of 32




as group email strings and group meetings, as well as privately, creating a hostile and chilled work
environment.

On more than one occasion, Dr. Eastman has cursed at staff members in public or group settings.
In one example, Dr. Eastman cursed at an OCMO staff member for driving him to the wrong
building; the correct building was adjacent. This incident occurred in front of contractors and
another DHS employee, who remarked at the extreme nature of the verbal assault.

On another occasion, at the OCMO office in the Ronald Reagan Building, Dr. Eastman tightly
grabbed the sides of a senior staff member’s desk, leaned towards that staff member, and
aggressively said “I’m f***ing pissed and we need to talk right now!” (Exhibit L). Additionally,
after a staff meeting, he berated an OCMO staff member from whom he had requested an
assignment telling this staff member, in front of at least three other employees, “if you can’t get it
to me then, you can f***ing get it to me today!” These are merely some examples of derogatory
language that Dr. Eastman regularly uses around OCMO staff.

Additionally, Dr. Eastman regularly disparages OCMO, claiming falsely, for example, that OCMO
never had a mission statement, and blaming Anadith’s death on the OCMO-created Electronic
Medical Records system despite an ongoing OPR investigation initially revealing that the Loyal
Source provider failed to properly use the system.22

Dr. Eastman’s behavior toward and around staff, particularly in work settings, has created a toxic,
hostile, and chilled environment in which employees fear repercussion for questioning or
disagreement with their acting leader.

Dr. Eastman’s Gross Waste of Taxpayer Dollars on Travel Expenses
Dr. Eastman, a resident of Texas, frequently commutes to and from Washington, D.C., spending
taxpayer dollars to accommodate his remote work, and makes frequent trips that are minimally
related, if at all, to the OCMO mission. These travel expenditures using OCMO funds, including
during a Continuing Resolution, are concerning especially in light of the 2020 report of the
Government Accountability Office, which called for greater oversight of funds designated for
medical expenses, having found that, for example, funding Congress had designated for medical
needs was spent on ATVs.23

Trips Only Partially Related to OCMO Mission Paid from OCMO Budget
Dr. Eastman has on several occasions attended events unrelated to his role as Acting CBP CMO,
yet in an apparent attempt to justify the trip as an OCMO mission-critical expense he often adds a

22
   U.S. Customs and Border Protection, “June 1, 2023 Update: Death in Custody of 8-Year-Old in Harlingen, Texas,”
(June 1, 2023), https://www.cbp.gov/newsroom/national-media-release/june-1-2023-update-death-custody-8-year-
old-harlingen-texas
23
   U.S. Government Accountability Office, “Southwest Border: CBP Needs to Increase Oversight of Funds, Medical
Care, and Reporting of Deaths,“ (July 14, 2020), https://www.gao.gov/products/gao-20-536.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 15 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 16 of 32




stop tangentially related to OCMO. While on these trips, Dr. Eastman is routinely reimbursed for
the daily costs of meals and travel expenses for days when he is conducting non-OCMO business.

In one example of apparent expenditures from the OCMO budget unrelated to the OCMO mission,
Dr. Eastman recently attended a multi-day surgery conference in Orlando, Florida, though surgery
is not part of CBP or OCMO’s mission set. He added a brief visit to the CBP communications
command center to his itinerary after his conference travel was initially planned. Though no more
than one day of his trip was relevant to OCMO, Dr. Eastman’s travel, lodging, and meals for the
entire trip were paid out of the OCMO budget, totaling over $3,000.00.

In early September 2023, Dr. Eastman drove a rental car paid for by OCMO from Washington,
D.C., to West Virginia University after a short time at CBP Headquarters. He then stayed the night
in West Virginia, spoke at a university engagement, then drove the same OCMO-paid rental car to
Pennsylvania where he dropped off the car and flew elsewhere for personal reasons. Airfare,
lodging, meals, and the rental car for this entire trip totaled over $2,000.00.

Furthermore, as noted above, it is not apparent why Dr. Eastman was needed at the September
2023 UN General Assembly, particularly when it was initially decided that OCMO had no role at
the event. Additionally, the purported justification that CBP officers might suffer injuries requiring
helicopter rescue, the personal intervention of the Acting CBP Chief Medical Officer, and fentanyl
lollipops for anesthesia in mid-Manhattan with some of the greatest concentration of medical
trauma resources in the world strains credulity.24

Overspending During Continuing Resolution
On September 30, 2023, the federal government avoided a shutdown and entered a Continuing
Resolution for FY 2024, requiring close monitoring of spending.25

Days later, on October 5, Dr. Eastman received an email directed to Operations Support Leadership
and budget staff directing leadership that during the Fiscal Year 2024 Continuing Resolution
enacted by Congress funding the Federal Government through November 17, 2023, program
leadership should be limited to “essential activities” and that “non-mission critical travel,
relocations, training, and conferences” should be limited (Exhibit M).

On October 12, 2023, OCMO was asked to create policy guidance to determine what travel could
be deemed mission critical. At that point, OCMO’s travel budget for the month was $20,000.00,
and travel was over budget by nearly $10,000.00 (Exhibit N). The expenses for that month
included five trips by Dr. Eastman, constituting half of the planned trips. Three of these trips
included travel to Washington, D.C., which would not be necessary if Dr. Eastman was based at

24
   Though Dr. Eastman’s travel to UNGA was not paid from the OCMO budget, he spent 10 days away from OCMO
at UNGA.
25
   President Biden signed a bill avoiding government shutdown on September 30, 2023. Continuing Appropriations
Act, 2024 and Other Extensions Act H.R.5860, 118 th Congress, (2023), https://www.congress.gov/bill/118th-
congress/house-bill/5860

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 16 of 32
        Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 17 of 32




OCMO Headquarters. Furthermore, in making an initial evaluation of which trips should be
cancelled or shortened, Dr. Eastman suggested altering the trips of four of five OCMO staff
members who had travel planned besides Dr. Eastman; he suggested no changes to his five trips.

Meanwhile, from October 11-14, 2023, Dr. Eastman was on a trip from his home in Dallas to San
Diego, where he spent a short time on OCMO business, then stayed in San Diego additional days
to attend a conference for chiefs of police, unrelated to OCMO business. The $1,000.00 conference
registration fee was paid from OCMO funds.

Days later, on October 17, 2023, Dr. Eastman sent an email to OCMO senior leadership stating
that OCMO “shouldn’t have people traveling on non mission-critical travel during the CR,” and
admitted that OCMO “missed the opportunity to reign a couple of these trips in as they started
over the weekend” (Exhibit O). When Dr. Eastman asked budget staff for guidance on how to
determine whether a trip was mission-critical, budget staff informed him that, among several other
factors, agency leadership should “strongly consider” whether the meeting could be conducted
remotely, whether “the travel is to attend training for the purposes of professional development as
opposed to maintaining existing accreditation that cannot easily be postponed,” and whether “the
travel is for the sole purpose of giving a presentation.” (Exhibit N).

On October 24, 2023, Dr. Eastman issued a memo stating that OCMO senior leadership were
authorized to determine what travel meets a “mission-critical” threshold. This decision resulted in
the trips of several OCMO staff being shortened or cancelled over the objections of OCMO
leadership (Exhibit N).

Then, in November 2023, Dr. Eastman flew from Tucson, Arizona, where he had been on OCMO
business, to Phoenix, an approximately two-hour drive, in order to stay overnight in Phoenix and
speak briefly over two consecutive days at a trauma surgery conference. Dr. Eastman stayed in
Phoenix through the end of the week, visiting a CBP Agent who was in the hospital. The trip
incurred $700.00 in meals, incidentals, and local transportation expenses, all paid from the OCMO
budget. This travel appeared to not meet the mission-critical guidelines communicated by budget
personnel.

Dr. Eastman continues to plan additional trips to surgery conferences, which are unrelated to the
OCMO mission, effectively taking time for non-mission critical professional development with
OCMO’s time and funding. Indeed, from the beginning of FY2024 to January 2024, Dr. Eastman
spent $40,000.00 in travel, nearly 400% more than the next highest OCMO traveler (Exhibit P).
An upcoming trip to a conference at a luxury ski resort in Aspen, Colorado at the end of this month
is projected to spend at least $4,000.00 of OCMO’s budget.

Inappropriate Use of Deloitte Contractors
Soon into his tenure as acting Chief Medical Officer, Dr. Eastman began to incorporate Deloitte
contractors into OCMO operations. While taken in the most favorable light, Dr. Eastman may have


Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 17 of 32
          Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 18 of 32




been responding to chronic lack of support and staffing for OCMO, however his methods for
addressing the problem involved bringing unqualified and inexperienced personnel into critical
and sensitive leadership positions, circumventing hiring processes, giving contractors access to
sensitive information, effectively demoting OCMO staff by shifting their positions within the
OCMO organizational chart, and partnering with a celebrity-founded NGO that had its own
problems of fraud and mismanagement.

Dr. Eastman minimized concerns raised by OCMO staff that his actions violated Federal
Acquisition Regulation among other policies.

Hiring of Deloitte Contractors Non-Competitively Via an IT Contract for Key OCMO Roles
Unrelated to Information Technology

Within the first week of being assigned to OCMO, and during his second day onsite at CBP
headquarters, Dr. Eastman asked Deputy Executive Assistant Commissioner of CBP Operations
Support, Mark Koumans: “Do you have the money for my Deloitte contract?” Mr. Koumans asked
how much money Dr. Eastman needed, and Dr. Eastman responded with $500,000.00. Mr.
Koumans replied that “we are out of money, so I’ll have to add it to the tab,” and said Operations
Support required a Statement of Work (SOW) to consider opening the contract.

Dr. Eastman replied that he “would have [the] Deloitte contractors write the SOW.” Mr. Koumans
then put his fingers in his ears and said “la, la, la, la, I didn’t hear that.”26 Ultimately, the Deloitte
contract was attached to a large $5.8 million dollar United States Border Patrol (USBP)
Information Technology (IT) contract, initially resulting in three Deloitte contractors being
assigned to OCMO titled as IT Consultants, even though their duties were minimally IT related, if
at all.27 This contract maneuver raised concerns with the contract professionals responsible for the
USBP IT contract, and OCMO senior leadership questioned Mr. Koumans about the lawfulness of
this procurement, but it was allowed to proceed.

OCMO Staff Warn Dr. Eastman That His Plan to Hire Deloitte Contractor 1 is Not Permitted

Dr. Eastman has primarily worked with three main Deloitte staff through the IT contract,
hereinafter referred to as Deloitte contractors 1, 2, and 3. When OCMO staff questioned Dr.
Eastman’s desire to hire Deloitte Contractor 1, who he claimed to view as “family” who he “relied
on for everything” as a non-compete GS-15 Senior Advisor, Dr. Eastman replied that Deloitte
Contractor 1 was amazing and very well connected (Exhibit Q). Dr. Eastman offered that when he
asked Deloitte Contractor 1 how they could get her “onboard” non-competitively, she picked up

26
   The FAR limits contractor participation in writing work statements, especially in situations which may implicate
conflicts of interest or unfair competitive advantage. E.g., FAR 9.5 - Organizational and Consultant Conflicts of
Interest
27
   In practice, three primary Deloitte contractors serve as assistants and advisors to Dr. Eastman, helping write policy,
talking points for briefings, and plan presentations, among other non-IT responsibilities. Some of their roles have been
described as “policy implementation,” “stakeholder management,” “strategy development,” and “rapid design,
deployment, and implementation of border security and public health strategic plans and policies.”

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 18 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 19 of 32




the phone and called Elaine Duke, the former United States Deputy Secretary of Homeland
Security, and arranged an in-person dinner between Dr. Eastman and Elaine Duke the following
week in Washington, D.C. Elaine Duke is now Principal for Elaine Duke & Associates, LLC, and
is also a specialist executive with Deloitte Consulting, LLC where she provides mission,
acquisition and management consulting for Deloitte to federal, state, and local clients.

Senior OCMO staff warned Dr. Eastman of the impropriety of having Deloitte Contractor 1 create
a restructured OCMO organizational chart with a position she would fill and having Deloitte
Contractor 1 work with Dr. Eastman on the process to hire her noncompetitively. Dr. Eastman
asked OCMO staff “what do y’all have against [Deloitte Contractor 1]?” to which OCMO replied
they were simply seeking to follow appropriate hiring protocol. However, Deloitte Contractor 1
was functionally hired to serve as Dr. Eastman’s Senior Advisor.

Though the FAR provides that contractors may not perform “inherently governmental functions,”
Dr. Eastman frequently involves Deloitte Contractor 1 in key government and personnel decisions
that are classified under FAR 7.503 as inherently governmental, such as the direction of federal
employees, discussions regarding federal employees’ performance, and the determination of
agency policy.

A senior OCMO staff member repeatedly attempted to intervene regarding Dr. Eastman’s
continued use of Contractor 1 in these types of duties but was unsuccessful. Senior OCMO staff
also reported Dr. Eastman’s hiring plan for Deloitte Contractor 1 and the types of governmental
functions she was performing to Operations Support leadership. On one occasion when this senior
OCMO staff member raised concerns to Operations Support Deputy Assistant Commissioner
Mark Koumans, Koumans told the OCMO staff member to “stop playing gotcha” and instead help
Dr. Eastman as Dr. Eastman had “never run an organization of this size and complexity.”

Concerns That Deloitte May Have Used Sensitive Government Information in a Proposal

In response to an official Request for Information process seeking vendor proposals for a potential
replacement for the Electronic Medical Records system28, on October 20, 2023, Deloitte submitted
a proposal that utilized language not seen in the other dozen plus submissions. This language
included the use of the terms “OCMO” and the “border health system.” The Border Health System
construct was designed and developed by Dr. Eastman and Deloitte, and it was presented as the
way forward to end preventable deaths in custody. Deloitte contractors assigned to OCMO are
fully engaged with all facets of Dr. Eastman’s vision for newly developed OCMO programs and
efforts going forward, positioning them to have inside information to use to their advantage in the
competitive bidding process for a multimillion-dollar contract for a new electronic medical records




28
  See infra “Gross Waste of Taxpayer Dollars in Crusade Against the OCMO In-House Electronic Medical Records
System.”

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 19 of 32
        Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 20 of 32




system, a potential violation of FAR 9.5 which prohibits conflicts of interest which would result
in a contractor having an unfair advantage in the procurement process.

Onboarding a Deloitte Contractor Without Required Security Check, Then Giving Sensitive
Information

Deloitte Contractor 1 onboarded another Deloitte contractor, a nurse practitioner, as a purported
IT consultant under the Deloitte contract without following the required background investigation
processes. After the nurse practitioner’s hiring, OCMO employees raised concern that the nurse
practitioner was hired without a completed background investigation approved by the Office of
Professional Responsibility, in violation of agency requirements. Additionally, over a period of
approximately six weeks, the nurse practitioner was included in several government sensitive calls
and went on at least one trip to secure CBP facilities.

OCMO senior leadership reported this privacy breach to the Contract Officer Representative, the
person responsible for monitoring compliance on the IT contract on which Deloitte Contractor 1
and the nurse practitioner were brought to OCMO (Exhibit R). Dr. Eastman said that he addressed
the breach with Executive Assistant Commissioner for Operations Support, Casey Durst, and that
no further action was needed. The lackadaisical attitude towards background investigations and
clearances is concerning, particularly in light of the strict background investigation requirements
CBP and OCMO have placed on Loyal Source and other contractors, and concerns raised in Mr.
Hendrickson’s November 30, 2023 disclosure that detailed Loyal Source contractors working in
CBP facilities without proper background clearances.

Gross Mismanagement in Addressing Staffing Needs
CBP leadership historically under-invested in OCMO, leaving the team without key administrative
staff for years and with no less than seven of ten critical leadership positions unfilled at any given
time since OCMO’s creation. These vacancies forced OCMO’s lean team to balance medical
oversight with administrative efforts such as creating budgets and producing medical plans, two
functions typically performed by specific personnel with expertise in those roles. Furthermore, as
detailed in Mr. Hendrickson’s November 30, 2023 disclosure, Loyal Source chronically
understaffed medical support at CBP stations across the border. In such an environment, Dr.
Eastman no doubt faced staffing shortages when he assumed the position of Acting CBP CMO,
but he has addressed this problem through inappropriate personnel management practices.

Effective Demotions of OCMO Personnel Via Organizational Restructuring, and
Noncompetitively Hiring Contractors to Key OCMO Positions

Soon after he began his tenure as Acting CBP CMO, Dr. Eastman began making changes to the
OCMO organizational chart with scarce input from or notice to OCMO staff.




Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 20 of 32
            Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 21 of 32




           Removing a Senior GS-15 Associate Chief Border Patrol Agent from an Essential
           Program Management Position

For example, though the Medical Services Contract Program Manager was detailed to OCMO
through an assignment that specifically designated a Senior GS-15 Associate Chief Border Patrol
Agent to oversee the program management of the Medical Services Contract with Loyal Source,
Dr. Eastman moved this manager to the Operational Medicine Division. This Program Manager’s
position was designated and formalized through a Plan of Actions and Milestones (POAM) signed
by CBP Commissioner Troy Miller, which ensured a Senior GS-15 Associate Chief Border Patrol
Agent would reside within OCMO for this role (Exhibit S). When senior OCMO staff brought the
terms of the POAM to Dr. Eastman’s attention, Dr. Eastman commented that the POAM was not
“a real thing.” Dr. Eastman’s removal of this Program Manager from his position has been
disruptive of OCMO efforts, as the Program Manager possessed critical institutional knowledge
in his role. This vital position, directly responsible for program management of the Medical
Services Contract, remains unfilled.

           Replacing an Assigned Deputy Chief Medical Officer with a Non-Competitively Hired
           Contractor

Additionally, the Deputy Chief Medical Officer position was initially filled in 2021 by a federal
employee, but that individual resigned in 2022 in the wake of continued CBP leadership failures.
The Deputy Chief Medical Officer position was then filled by a physician Colonel from the U.S.
Army on a SkillBridge assignment.29 However, upon this physician’s arrival to OCMO, Dr.
Eastman reassigned this physician to other duties and has put a remote contract physician in the
Deputy Chief Medical Officer position, even though the FAR effectively prohibits a contractor
from holding a deputy role as a deputy would need to direct federal employees, among other
inherently governmental functions, which is prohibited by FAR 7.503.

OCMO senior staff repeatedly warned Dr. Eastman of this prohibited personnel practice to no avail
and around September 2023, reported it to Deputy Executive Assistant Commissioner of
Operations Support Koumans who in turn instructed senior OCMO staff to be more supportive of
Dr. Eastman. On one occasion at the end of September 2023, the Contractor Deputy CMO was
present in a Microsoft Teams meeting with a CBP leader regarding sensitive government
information. When it was realized that the Contractor Deputy CMO was inappropriately receiving
sensitive government information, a senior OCMO staff member was hastily brought in to fill the
Contractor Deputy CMO’s place in the meeting. This incident exemplifies both the danger of
Eastman’s use of contractors in key OCMO roles and the haphazard nature of current OCMO
management.




29
     Homeland Security Careers, “Skillbridge,” https://www.dhs.gov/homeland-security-careers/skillbridge

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 21 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 22 of 32




Non-Physician Filled in for Acting Chief Medical Officer During Vacation

Recently, a new position, Chief Operations Officer, was created within OCMO, apparently at the
direction of CBP Acting Executive Assistant Commissioner Durst. The individual serving in this
role is not a physician, yet when Dr. Eastman was on vacation in January 2024, he named the
OCMO Chief Operations Officer to serve as Acting CBP Chief Medical Officer in his stead,
including during a recent Congressional Delegation of House members to the southwest border.

Hiring an Unqualified Friend for an OCMO Leadership Position

Additionally, Dr. Eastman has communicated that he intends to hire his friend, the same individual
with whom Dr. Eastman has been under investigation for improperly storing narcotics, and who
accompanied Dr. Eastman as his helicopter pilot to UNGA, in a new leadership position he has
created within the OCMO org chart. As an Air Interdiction Agent within CBP’s Air and Marine
Operations, this friend has no apparent qualifications to fulfill this leadership role.

Plan to Address Border Staffing Shortages with Actor Sean Penn’s Scandal-Ridden NGO

In December 2023, after boasting that he had shared lunch with actor Sean Penn, Dr. Eastman
attempted to force Border Patrol supervisors at the Eagle Pass station to allow employees of a
nonprofit founded by Penn, Community Organized Relief Effort (CORE), to assist with medical
support. Around that time, there had been hundreds of noncitizens congregating under the port of
entry bridge near the Rio Grande. Purportedly, CORE staff were there to assist with the medical
needs of that population, which, by the time of CORE’s arrival, was actually dwindling in number.

Reporting in early 2023 had already revealed concerns that CORE had committed gross waste of
federal funds, was failing to deliver on its mission to provide aid around the world and turned a
blind eye to multiple reports of sexual harassment and assault of staff, among other complaints.30

When CORE personnel arrived at the Eagle Pass facility, CBP staff raised concerns that the CORE
staff were civilians who lacked background investigation clearances, and Dr. Eastman’s direction
would have required CORE to treat people whose custody with CBP was questionable as they
were outside of a CBP facility. To address these concerns, CBP staff at the station contacted CBP’s
Office of Chief Counsel for advice about Dr. Eastman’s request. During the time that CBP
personnel at the station were waiting for a response from the Office of Chief Counsel, Dr. Eastman
expressed disdain that CORE had not yet been let into the station, and claimed that Acting
Commissioner of CBP, Troy Miller, wanted CORE to have a presence at the station. Ultimately,
CORE personnel were permitted to hand out snacks and water when the noncitizens were on
private property prior to apprehension.



30
  Sophie Alexander, “Sean Penn’s Disaster-Relief Charity Ended Up a Money Mess,” Bloomberg, (January 31, 2023),
https://www.bloomberg.com/news/features/2023-02-01/sean-penn-charity-core-wasted-money-and-ignored-
complaints-employees-say.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 22 of 32
        Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 23 of 32




This push to have CORE personnel staff a Border Patrol station would have circumvented critical
background investigation, medical licensing and credentialing, and quality and oversight
requirements among other protocols that are in place to protect persons in CBP custody and which
contractors like Loyal Source are expected to follow.

Gross Waste of Taxpayer Dollars in Crusade Against the OCMO In-House
Electronic Medical Records System
As noted, Dr. Eastman has long blamed the OCMO-built Electronic Medical Records system for
Anadith’s death, despite indications otherwise. Dr. Eastman, whose experience is in hospital
systems, has championed an initiative to replace OCMO’s Electronic Medical Records system
with a contracted commercial “off the shelf” product that more closely resembles those used in
hospital settings. While some functions of hospital systems might be useful, the overall structure
of hospital records systems is unsuited to the unique and dynamic nature of providing front-line,
pre-hospital triage and emergency medical support in CBP facilities, and the need for system
interoperability within existing government IT systems.

Nevertheless, Dr. Eastman initiated a comparative analysis of OCMO’s system in relation to
existing commercial “off the shelf” systems on the market; while this may have initially been a
worthwhile evaluation, Dr. Eastman’s myopic desire to replace the OCMO system has prolonged
the review and wasted countless hours of dozens of federal employees’ time. Furthermore, OCMO
staff are concerned that Dr. Eastman’s efforts may inappropriately favor a contract with Deloitte
to provide an alternative records system.

OCMO Custom Built the Current Electronic Medical Records System, Which Has Been
Recognized for its Effectiveness

OCMO personnel, working with CBP IT department experts, the DHS Chief Medical Information
Officer, and expert programmers and developers, built the Electronic Medical Records System in-
house to respond directly to medical needs in the unique setting of providing medical support to
noncitizens in CBP custody. Initiated in the first quarter of 2020, the system was designed to be
continually enhanced through ongoing development cycles. OCMO, working with stakeholders,
has overseen dozens of enhancements and regularly pursues and receives feedback from various
stakeholders, including medical providers who use the system in CBP facilities, for additional
developments. The OCMO Electronic Medical Records system has been recognized by the DHS
Chief Medical Information Officer as one of the best systems within the agency.

OCMO’s Electronic Medical Records System Inaccurately Blamed for Anadith Reyes-Alvarez’s
Death

The June 8, 2023 memorandum sent by Herb Wolfe to Acting Commissioner Troy Miller
regarding DHS’s investigation of Anadith’s death named the lack of functionality of the Electronic
Medical Records System as one of the causes of her death. However, at the most basic level,

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 23 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 24 of 32




Anadith died in part because the Loyal Source provider failed to properly use the Electronic
Medical Records System and failed to listen to the pleas of Anadith’s mother for medical care.31

Nevertheless, since he has become Acting CBP Chief Medical Officer, Dr. Eastman has regularly
disparaged the functionality of the Electronic Medical Records System and insisted, on an ongoing
basis, that it must be replaced with an “off the shelf” system akin to those used in hospital system.

Alternative Analysis of Medical Records Systems Initiated Without OCMO’s Knowledge

Dr. Eastman asked Acting CBP Commissioner Troy Miller to organize a team to conduct a
comparative analysis of the OCMO Electronic Medical Records System and other “off the shelf”
systems. CBP’s Enterprise Services created a team to begin the alternative analysis, though OCMO
staff who created the system and oversee its use were not made aware of this review until a few
weeks after the initiation of the analysis in June 2023, when a member of the review team decided
it would be wise for OCMO staff working regularly with the Electronic Medical Records System
to be involved and provide more in-depth information about its use and functionality.

Findings In Support of the OCMO-Built System Rejected

The initial results of the alternative analysis indicated that the OCMO Electronic Medical Records
system was the most cost-effective among those compared, and that it could continue to be
internally enhanced. When the review team presented these results to Dr. Eastman, he was
incredulous that the OCMO Electronic Medical Records system could be ranked so highly and
said that it appeared his team had “cooked the books” to give the in-house system inflated ratings.

Over the ensuing months, through December 2023, Dr. Eastman repeatedly directed the review
team to re-do parts of their analysis. In one example, he appeared upset that a proposal from
Deloitte was not presented for consideration; the Deloitte proposal was not included at that stage
because of its low score in analysis criteria. In another example, he asked that scoring criteria be
re-done, including by downgrading critically significant features such as interoperability with CBP
enforcement IT systems, because he did not agree with the results.

Dr. Eastman then insisted that the scoring survey be sent to others, primarily non-OCMO
administrators, including DHS and ICE employees, who do not use the Electronic Medical Records
system as part of their job duties. These employees were administrators, not clinical staff with
experience providing medical care in CBP custody. When OCMO staff raised this concern to Dr.
Eastman, he indicated that he prioritized the opinions of these administrators over clinical staff
who would be using the system in clinical care. After the administrators completed their scoring,
this exercise ultimately changed the results by less than 1% overall.



31
  U.S. Customs and Border Protection, “June 1, 2023 Update: Death in Custody of 8-Year-Old in Harlingen, Texas,”
(June 6, 2023), https://www.cbp.gov/newsroom/national-media-release/june-1-2023-update-death-custody-8-year-
old-harlingen-texas

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 24 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 25 of 32




Concerns of Favoritism Towards Deloitte

As detailed above, Deloitte submitted a response to a Request for Information which solicited
information about alternatives to the OCMO Electronic Medical Records System.32 The insider
information contained in Deloitte’s response, such as terminology only used within OCMO, along
with Dr. Eastman’s close working relationship with Deloitte Contractors 1, 2, and 3, and Dr.
Eastman’s apparent disappointment that the Deloitte proposal did not receive high rankings in the
alternative analysis suggest there may be risks of improper motives in the impetus for the
analysis.33

Dr. Eastman Has Neglected to Prioritize OCMO’s Actual Needs in the Review of the Electronic
Medical Records System

A major dispute between Dr. Eastman and OCMO staff is that Dr. Eastman wants the CBP
Electronic Medical Records System to include functionality for clinical decision support, which
the current system does not have. Clinical decision support would consist of automatic prompts
and questions directing providers to uniform treatment plans based on symptoms input in the
system. On the other hand, what any “off the shelf” system Dr. Eastman might prefer lacks is the
ability to integrate with broader government records systems, which is a critical capacity for
OCMO’s mission.

Since medical services at the border are contracted, OCMO is not in a position to direct medical
decision making through clinical decision support systems.34 Further, even if the Electronic
Medical Records System had capacity for this type of clinical decision support, contractor
personnel could override the additional questions prompted and OCMO would have little ground
to question providers’ treatment plans as long as noncitizen patients were given any type of
objectively proper treatment. The high valuation placed on clinical decision support features by
Dr. Eastman has resulted in review scores that rate “off the shelf” systems higher than the
Electronic Medical Records System, but those scores do not reflect the weight of OCMO’s actual
needs, including capacity to integrate with other government databases, in such systems.

Furthermore, “off the shelf” hospital-based systems are heavily geared toward medical coding and
billing, which are not relevant priority factors in the CBP medical setting. OCMO’s Electronic
Medical Records System was specifically designed to avoid such distractions in order to increase
efficiency and usability. With millions of documented medical interactions every year, additional
delay caused by inefficient records systems during medical interactions could cumulatively result
in significant disruptions of processing of noncitizens, leading to longer stays in CBP custody.



32
   “Concerns That Deloitte May Have Used Sensitive Government Information In a Proposal,” supra p. 16.
33
   See FAR 9.5 prohibiting conflicts of interest in contract procurement.
34
   In fact, FAR 37.401 prohibits such control, requiring contracts to specify that, “the Government may evaluate the
quality of professional and administrative services provided, but retains no control over the medical, professional
aspects of services rendered (e.g., professional judgments, diagnosis for specific medical treatment)”.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 25 of 32
        Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 26 of 32




Of greater importance to CBP medical operations is the ability of the CBP Electronic Medical
Records system to integrate with other government IT systems, a scoring criterion Dr. Eastman
has sought to downgrade. This interoperability supports continuity of care by: ensuring that
medical data about a noncitizen in custody is linked to their enforcement record; facilitating patient
identification by, for example, pulling identification photographs from enforcement records into
the medical record; and creating a comprehensive record of a noncitizen’s time in custody by
sending updates from the medical record to the custodial action log, among other mission-critical
functions. Rebuilding these functions into an “off the shelf” system would cost millions of dollars
and countless hours of employee time.

As it stands, Dr. Eastman’s alternative analysis process has cost hundreds of hours of federal
employee time. To date, the project, which began around late May or June 2023, is not yet
complete. Further, OCMO staff have spent significant time sending and completing user surveys
and analyses for the review, only to be left with the result that the current Electronic Medical
Records System appears to be the best fit for OCMO’s unique needs.

                           PART III: CONTRACTOR CHAOS
Former Loyal Source Employees Validate Underperformance in Medical
Services
After Government Accountability Project sent Mr. Hendrickson’s November 2023 whistleblower
disclosure to Congress, former Loyal Source employees who provided medical care in CBP
facilities under the Medical Services Contract contacted Government Accountability Project to
share their experiences with the company. The accounts of these whistleblowers, who worked at
multiple CBP stations throughout California, Arizona, New Mexico, and Texas over several years,
corroborate Mr. Hendrickson’s disclosures and concerns raised internally by OCMO
whistleblowers for years. Their reports detail Loyal Source’s failings through firsthand experience
and demonstrate the on-the-ground impact of CBP leadership’s reluctance to hold Loyal Source
accountable despite years of pleading by OCMO. These new whistleblowers choose to remain
confidential but are willing to expand on their protected disclosures with government investigators
in a confidential setting. Their disclosures include:

Minimal Training

Training by Loyal Source was minimal and inconsistent across stations along the southern border.
For example, employees might be instructed to shadow other employees for a short period of time,
then asked to staff shifts on their own within a few days, never having been given a training or
policy manual. Transfers throughout stations and states along the southern border were frequent.
When an employee then transferred to another station, the work was often done differently, but
there were no communicated standards or guidelines to explain norms and expectations.



Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 26 of 32
        Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 27 of 32




Background Check Delays

Loyal Source employees experienced inconsistencies in background check policies. For example,
one employee reported a long delay in their background check, which prevented the employee
from beginning work. Yet, other employees were given provisional background checks and
permitted to begin medical care in CBP facilities, only to have that provisional clearance revoked
when their background check results uncovered a blemish prohibiting them from further
employment. This process resulted in employees who may not have been qualified for a
background clearance working in CBP stations.

Improper Medical Licenses

In their frequent reassignment of employees, Loyal Source permitted and encouraged employees
to transfer to stations in states in which their medical licenses might not have applied or which
may have required testing or refresher courses to be able to lawfully practice in the state.

Understaffing

Loyal Source frequently left entire shifts unstaffed. The company also failed to schedule workers
who were available to work and who requested to work when shifts were vacant. Emergency
Medical Technicians, whose roles are primarily to provide support to Nurse Practitioners, were
frequently the only medical staff on site. Loyal Source’s hiring has not kept pace with departures
from the company. Staffing shortages caused numerous problems, including delays in required
medical checks which led to prolonged detention of noncitizens in CBP custody, or deterioration
of their medical conditions. Poorly managed staffing also resulted in gross waste; in at least one
instance, a Loyal Source employee was assigned to a station two hours from the employee’s home
location and received reimbursed travel benefits though there were numerous vacant shifts at
stations at this employee’s home location.

Lack of Supplies and Medically Appropriate Food

Loyal Source employees frequently had to use and purchase their own supplies because the
company failed to provide even the most basic of medical equipment, including bandages,
Kleenex, thermometers, face masks, printer paper, pens, Lysol, and paper towels. In one example,
employees had to purchase medically appropriate food for a minor who had special medical needs
because there was no proper food available. In another, an employee had to make a splint out of
cardboard and tape for a patient with broken bones. Additionally, on one occasion an employee
had to use their own tourniquet to treat a patient with a laceration that was profusely bleeding.

Waste of Available Medication

Loyal Source Program Management permitted the waste of medication paid at government
expense. For example, Loyal Source providers were instructed to order and prescribe specialized
medications in the U.S., such as medications to treat HIV, rather than permit noncitizens to

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 27 of 32
        Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 28 of 32




consume these same medications they may have brought with them from their home country.
However, if the noncitizen left CBP custody before the medication arrived, there was no clearly
communicated policy regarding what to do with the expensive specialized medications, some of
which cost up to $1,400.00. This resulted in disposal of these medications. In another example,
one Loyal Source EMT routinely notified Program Management of medications that were due to
expire within the month, such as Tamiflu, Acyclovir, and insulin needles, in an attempt to facilitate
the transfer and use of those medications at other stations where there may have been a greater
need for them (Exhibit T). However, Program Management refused to coordinate a transfer of the
medications, so the EMT was forced to dispose of them.

Improper Medical Care

While OCMO policy was explicitly expressed as, “when in doubt, send them out” - meaning that
OCMO encouraged Loyal Source to err on the side of caution and take patients with questionable
or complex health concerns to an emergency department rather than risk under treatment of a
medical issue - many Loyal Source providers failed to do so. For example, one nurse practitioner
erroneously diagnosed a patient as being high on narcotics instead of recognizing severe
rhabdomyolysis, a deadly illness involving kidney failure. This same nurse practitioner frequently
alleged that noncitizens in CBP custody were faking illness to get out of their cells and failed to
review their medical records to confirm their health condition. In addition, this nurse practitioner’s
actions appeared to have resulted in at least two people with underlying medical conditions being
hospitalized after they collapsed, and eventually dying. Other nurse practitioners failed to refer a
patient to the ER who had stroke value blood pressure readings, and prescribed water to a woman
suffering from complications of a high-risk pregnancy.

Language Access

While Loyal Source initially required medical providers to speak Spanish, this requirement was
eventually dropped, resulting in providers being unable to communicate to many noncitizens in
custody. Further, not all providers used the language line to communicate with noncitizens who
spoke languages other than Spanish, and at times phones were not available to do so.

Orders to Not Share Medical Information with CBP

Loyal Source Program Management specifically directed staff not to raise medical issues to CBP
and to instead raise concerns directly to Loyal Source Program Management. It was a norm
communicated through veteran Loyal Source medical providers that Loyal Source staff were not
to communicate with CBP at all, and Program Management staff frequently sent written reminders
to Loyal Source employees not to report issues or requests to CBP but to instead follow the Loyal
Source chain of command (Exhibit U). One Loyal Source EMT who provided Medical Encounter
paperwork to Border Patrol in order to facilitate continuity of care for noncitizens referred to
outside providers was told by a Loyal Source Program Manager to stop doing so. This instruction



Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 28 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 29 of 32




contradicted OCMO directives to Loyal Source to improve communication and coordination
between Loyal Source and CBP within facilities.

Failure to Use the Electronic Medical Records System

Though CBP trained Loyal Source on the Electronic Medical Records System, many Loyal Source
providers chose not to use it, citing ignorance of the system, understaffing, and overwhelming
numbers of noncitizens to process through it (Exhibit V). The failure to use the Electronic Medical
Records System resulted in failure to document serious medical concerns for patients, including
minors, such as broken bones, sexual assault, pregnancies, and suicidal ideation.

Fraudulent Recordkeeping and Destruction of Medical Records

Loyal Source Program Management directed staff to enter “n/a” rather than 0 when there were no
providers on staff, apparently to avoid flagging understaffing in records. They also directed staff
to report a lack of supplies directly to the Program Manger rather than in electronic records
systems. Additionally, Loyal Source Program Management at multiple sites directed staff to
sanitize and shred medical records. This sanitation included, in preparation for an audit, removing
forms that were not supposed to be in use from old medical records, and destroying boxes of entire
medical records files, despite written instruction from OCMO communicated by Loyal Source
leadership to medical service providers not to destroy medical records (Exhibit W).

Unlawful Gag Order

Loyal Source Program Management directed staff that they were not allowed to speak to CBP
investigators if they ever arrived on site and approached Loyal Source staff to ask about conditions
(Exhibit V).

Fraudulent Timekeeping

A Loyal Source employee in Program Management was terminated after it was discovered that
this individual was clocking out employees hours after the employees had left the site to give the
appearance that sites were staffed although they were not.

Concerns of Fraudulent Per Diem Reimbursement Rates

Loyal Source employees expressed concerns that the company was keeping funds that were
designated for their per diem pay (Exhibit X). Loyal Source management routinely communicated
to staff that Loyal Source sought reimbursement from the government, including for per diem
expenses, based on the number of days an employee stayed at a hotel.35 However, around August
2022, Loyal Source changed their rules about per diem reimbursement, requiring employees to

35
  This instruction is consistent with 41 CFR 301-11.9 which states that per diem expenses begin the day an employee
leaves their home and ends the day the employee returns to their home. https://www.ecfr.gov/current/title-41/subtitle-
F/chapter-301/subchapter-B/part-301-11/subpart-A/section-301-11.9

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 29 of 32
        Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 30 of 32




work a minimum of 30 hours, approximately three days, in order to be eligible for per diem for an
entire pay week, no matter how many days the employee was at the hotel. However, Loyal Source
employees were concerned that Loyal Source continued to bill the government for per diem rates
based on hotel stays, keeping the extra money for the company.

Sexual Harassment

In at least one case, a nurse practitioner was kept on staff and continued to work for approximately
a year after multiple allegations that the nurse practitioner inappropriately touched other Loyal
Source employees.

Privacy Breach

Loyal Source erroneously gave an employee access to electronic employee information including
social security numbers, HIPAA protected records, bank deposit details, and emails. When the
worker self-reported this improper access, they were suspended because Loyal Source accused the
worker of “hacking” the electronic system.

Conflicts of Interest

Though Loyal Source instructed employees that they were not to have relationships with CBP
employees, multiple Loyal Source providers were married to Border Patrol Agents working at the
same station. These relationships resulted in an environment in which Loyal Source Program
Management appeared to be hesitant to hold its staff to account and led to instances of intimidation
by Border Patrol agents against Loyal Source staff who reported concerns to Program
Management.

Retaliation

After a Loyal Source provider found that a minor in CBP custody had multiple broken bones
despite Loyal Source providers at the initial site of intake reporting no medical issues for the child,
Loyal Source Program Management threatened that anyone involved in the investigation of the
incident would be “caught in the crosshairs.” The Loyal Source employee who reported the
incident to CBP and Loyal Source management was reassigned to a station that was essentially a
demotion and prohibited from returning to the station where the employee discovered the reported
violation.

Ongoing Medical Failures Despite New OCMO Leadership
Though some medical process improvements have been initiated in recent months, such as
requiring regular checks of anyone in medical isolation and elevated risk assessment protocols,
Loyal Source continues to fall short of OCMO’s standards. For example, a positive initiative
advanced in recent months is elevated in-custody medical risk assessment guidance by which a
noncitizen will generally be classified as a high, medium, or low medical risk. According to this

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 30 of 32
         Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 31 of 32




policy, those with the highest risk should be prioritized both for medical care and prompt release
from custody. However, Loyal Source fails to consistently implement this system, indicating these
rules are only as effective as their enforcement. Additionally, in one egregious case detailed above,
Dr. Eastman appeared to minimize a severe medical failure.36

                                               CONCLUSION
Our client Mr. Troy Hendrickson and OCMO colleagues bravely sounded the alarm about
dangerous contractor failures in the provision of mandated medical services to noncitizens in CBP
custody, and about CBP’s knowing failure to hold Loyal Source accountable prior to another death
of a child in custody. Mr. Hendrickson’s public whistleblower disclosures about mismanagement
of the CBP Medical Services Contract have prompted at least two Congressional investigations,
but the need for swift oversight action remains.

The cumulative disclosures of our multiple whistleblower clients evidence that CBP has engaged
in a pattern of under-prioritizing its medical services and failing to hold Loyal Source accountable
despite Congressional mandates to improve the medical care of noncitizens in the agency’s
custody. Not only has the agency’s Office of Acquisition avoided any accountability37 for its role
in mismanaging the Medical Services Contract, but CBP has also retaliated against those who have
raised concerns, including by removing both Mr. Hendrickson and Dr. Tarantino from their
positions.

Now, current and former employees raise additional concerns about the leadership of the Acting
CBP Chief Medical Officer, Dr. Eastman, consistent with their rights to disclose their reasonable
belief of fraud, waste, and abuse, free of reprisal, to those with responsibility and authority to
address their concerns, including Congress and oversight agencies. Whistleblowers believe that
Dr. Eastman’s temporary assignment as Acting CBP CMO may be extended in February, and it is
crucial that their allegations be thoroughly reviewed before Dr. Eastman, in an Acting position,
takes permanent actions to further undermine OCMO’s ability to prioritize the mission of
overseeing the provision of medical care to noncitizens in CBP custody.




36
   “Minimization of the severity of Loyal Source’s undertreatment and failure to report a severe burn on a child,”
supra p. 11.
37
   Indeed, several leaders in the Office of Acquisition who were involved in failures to hold Loyal Source to account
have received promotions. Diane Sahakian, a leader within the CBP Office of Acquisition who in 2022, a year prior
to the death of Anadith Reyes-Alvarez, supported the Medical Services Contract Contract Officer’s decision to not
issue Loyal Source a corrective action known as a “Cure Notice,” was awarded with CBP’s Presidential Rank Award
in November 2023. U.S. Customs and Border Protection, “Statement from Senior Official Performing the Duties of
the Commissioner Troy A. Miller Regarding CBP’s Presidential Rank Award Recipients,” (November 17, 2023),
https://www.cbp.gov/newsroom/national-media-release/statement-senior-official-performing-duties-commissioner-
troy-0.

Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 31 of 32
        Case 1:24-cv-00925-TJK Document 1-2 Filed 04/01/24 Page 32 of 32




Ongoing mismanagement has hindered OCMO from meeting its critical mission to safeguard lives
at the border. It is long past time for DHS leadership, Congress, and oversight agencies to take
swift action to address these problems.

Respectfully submitted,

/s/ Andrea Meza

______________________

Andrea Meza, Immigration Counsel
Dana L. Gold, Senior Counsel
Government Accountability Project
1612 K Street, N.W., Suite 1100
Washington, D.C. 20006
(202) 926-3311
AndreaM@whistleblower.org
DanaG@whistleblower.org

Cc:    U.S. Customs and Border Protection
       The White House
       U.S. Department of Homeland Security Office of the Immigration Detention Ombudsman
       U.S. Department of Homeland Security Office of Health Security




Protected Whistleblower Disclosure to Congress of Multiple Whistleblowers
February 16, 2024
Page 32 of 32
